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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                       Filed: October 10, 2024

   Notice of Oral Argument at 9:00 a.m. (Eastern Time) on Tuesday, December 10, 2024



Mr. Wilson Buntin
Office of the Attorney General of Tennessee
P.O. Box 20207
Nashville, TN 37202

Mr. Scott Burnett Smith
Bradley, Arant, Boult & Cummings
200 Clinton Avenue, W., Suite 900
Huntsville, AL 35801

Mr. James S. Whitlock
Southern Environmental Law Center
48 Patton Avenue, Suite 304
Asheville, NC 28801

                      Re: No. 23-3682, Sierra Club, et al v. TN Department of Environment, et al

Dear Counsel:

   Your case is scheduled for oral argument at 9:00 a.m. (Eastern Time) on Tuesday,
December 10, 2024 before a three-judge panel of the Sixth Circuit Court of Appeals in
Cincinnati, Ohio. The time allotted for oral argument is 15 minutes for petitioner; 15 minutes to
be shared by respondent and intervenor. You may learn the names of the judges sitting on the
panel by checking the Court's calendar when it is posted on www.ca6.uscourts.gov two weeks
prior to argument.

   Only attorneys who plan on presenting oral argument are required to file the Oral Argument
Acknowledgment form. Please download this form from the website and file it by October 24,
2024.

  On the day of oral argument, report to the Clerk's Office, Room 540 in the Potter Stewart
United States Courthouse, located at the corner of Fifth and Walnut Streets in Cincinnati by
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8:30 a.m. (Eastern Time). Court will convene at 9:00 a.m. Once you enter the courthouse, you
must use the elevators on the Main Street (east) side to access the Clerk's Office on the fifth
floor.

   If you had previously requested oral argument but now wish to waive it, a motion to that
effect should be filed with the court as soon as possible.

   The panel may conclude, at a later date, that argument is not necessary. If that should occur,
you will be notified immediately that argument is cancelled, and the case will be submitted on
the briefs of the parties and the record. This possibility should be taken into account when
making your travel arrangements, particularly in deciding whether to purchase refundable or
non-refundable tickets for air travel.

   An attorney who has been appointed under the Criminal Justice Act should make travel
arrangements directly with National Travel, tel. (800) 445-0668. The Clerk's office has provided
National Travel with the required Travel Authorization which pays for CJA travel the day before
and day of oral argument. If you are a CJA appointed attorney and choose to make alternative
arrangements, reimbursement will be limited to the lesser of the government rate for airfare or
actual expenses.

    Continuances of oral argument will be granted only in exceptional circumstances, upon the
motion of counsel. Counsel is strongly discouraged from seeking continuances and, where such
a request is to be made, the motion should be filed as soon as possible. The filing of a motion
for a continuance or to waive argument does not guarantee a ruling prior to the scheduled
argument.

                                                 Sincerely yours,

                                                 s/Robin L. Johnson
                                                 Calendar Deputy

cc: Mr. Joseph P. Ahillen
    Ms. Stephanie Marie Biggs
    Mr. Schyler Burney
    Mr. Kevin A. Ewing
    Ms. Lela Merrell Hollabaugh
    Mr. Bartholomew Joseph Kempf
    Mr. Harrison Gray Kilgore
    Ms. Ann Navaro
    Ms. Emily Myers Ruzic
    Mr. Spencer Scheidt
    Mr. David A. Super
    Mr. Derek Teaney
